 Case 6:22-cv-00628-RBD-EJK Document 7 Filed 04/07/22 Page 1 of 2 PageID 31




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA

KIM TICKE, on behalf of himself and
                               :
others similarly situated,     : Case No. 6:22-cv-00628-RBD-EJK
                               :
    Plaintiff,                 :
                               :
v.                             : CLASS ACTION
                               :
TERMINIX INTERNATIONAL, INC., :
                               :
    Defendant.                 :
                               :
                             /

                       NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff Ticke hereby gives notice of the dismissal of this action without

prejudice, with each party to bear its own attorneys’ fees and costs.

Dated: April 7, 2022                   Respectfully submitted,

                                       /s/ Avi Kaufman
                                       Avi R. Kaufman (FL Bar no. 84382)*
                                       kaufman@kaufmanpa.com
                                       Rachel E. Kaufman (FL Bar no. 87406)
                                       rachel@kaufmanpa.com
                                       KAUFMAN P.A.
                                       237 S. Dixie Hwy, 4th Floor
                                       Coral Gables, FL 33133
                                       Telephone: (305) 469-5881

                                       *Trial Counsel

                                       Counsel for Plaintiff and the
                                       putative Class
 Case 6:22-cv-00628-RBD-EJK Document 7 Filed 04/07/22 Page 2 of 2 PageID 32




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 7, 2022, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF, and it is being

served this day on all counsel of record via transmission of Notice of Electronic

Filing generated by CM/ECF.



                                             /s/ Avi R. Kaufman




                                         2
